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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

JAMES GINDIN,
Plaintiff,
v.

JEFF GLOVER & ASSOCIATES, INC.,

A MICHIGAN CORPORATION, JEFF
GLOVER, an Individual, JAD SWEIS, an
Individual, COLBY LOOMIS, an Individual
AND ANTHONY BERTRAND, an Individual

Defendants.

BRADLEY J. FRIEDMAN (P70877)
LAW OFFICES OF BRADLEY J.
FRIEDMAN

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Case No.: 2:18-ev-13235
Hon. Arthur J. Tarnow

KENNETH A RICH (P38349)

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and Loomis

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DEFENDANTS JEFF GLOVER’S, JEFF GLOVER & ASSOCIATES, INC.’S AND
COLBY LOOMIS’ PRELIMINARY WITNESS LIST
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DEFENDANTS JEFF GLOVER’S, JEFF GLOVER & ASSOCIATES, INC.’S AND
COLBY LOOMIS’ PRELIMINARY WITNESS LIST

 

Defendants JEFF GLOVER, JEFF GLOVER & ASSOCIATES, INC. and COLBY

LOOMIS, by and through their undersigned counsel, and for their Preliminary Witness List, state

as follows:
WITNESSES!
I. Parties, including, but not limited to:
A. James Gindin
B. Jeff Glover
C Jeff Glover & Associates, Inc.
D. Jad Sweis
E. Colby Loomis

F, Anthony Bertrand
Il. Other Fact or Lay Witnesses, including, but not limited to:
A. Friends, family, and/or associates of James Gindin.
B. Current or potential employers and/or educators of James Gindin.
C. Any and all agents, employees, or contractors of James Gindin.
D. Any and all agents, employees, and contractors of Plymouth Canton Realty, LLC
including, but not limited to:
1. MaryBeth Kaljian

E. Any and all agents, employees, and contractors of Keller Williams Realty, Inc.

 

! References to individuals and/or entities herein may include (whether actual or ostensible) any/all former/current
agents, servants, employees, employers, departments, branches, subdivisions, independent contractors, and/or
record custodians. Fact witnesses may be called upon to offer expert testimony within the scope of their specialty
or specialties.
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including, but not limited to:

va

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—

J.

Provider(s).

1. Rene McDonald
2. Kary Sutter

3. Kayla Swanson
4, Cale Woods

De Darryl Frost
Taylor Kerrigan

Ariel Toldeo.

Any and all agents, employees, and contractors of Kai Data, LLC.
Any and all agents, employees, and contractors of Real Estate Data Exchange, Inc.

Any and all agents, employees, and contractors of Defendant’s Telephone Service

Ill. Experts, including, but not limited to:

A,

Specialists in the area of communications, information technology, and/or related

fields, including, but not limited to:

Dz.

E.

1. Ray Horak (expected to testify regarding matters within the scope of his
specialties)
Context Corporation
1500A East College Way, PMB 443
Mount Vernon, WA 98273

Any and all specialists/experts utilized by Plaintiff in this matter.
Any and all specialists/experts utilized by any/all co-defendant(s) in this matter.
Any and all necessary rebuttal specialists/experts.

Defendants reserve the right to add supplemental specialists/experts throughout the

course of discovery and trial of this matter.

IV. Miscellaneous witnesses, including, but not limited to:

A.

All witnesses named in any witness list filed by Plaintiff.
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B. Any and all necessary rebuttal witnesses.
. Any and all witnesses that become known up to and through the date of trial.
D. Any and all individuals named in discovery, including, but not limited to,
interrogatories, depositions, pleadings and other documents.
E. Any and all individuals necessary to authenticate, interpret, identify and/or
introduce any and all exhibits.
F, Defendants reserve the right to supplement its witness list(s) throughout the course
of discovery and trial.
Respectfully submitted,
RICH, CAMPBELL & ROEDER, P.C.

By: | [

KENNETH ICH (P38349)
CAMPBELL & ROEDER, PC
rs Aor Defendant Glover, JG&A and

 

   

 

30665 | Jorthwestern Highway, Suite 201,
Farmi ton Hills, MI 48334
Dated: May 10, 2019 (248) 406-8000 / (248) 406-8001 — fax

 

 

PROOF OF SERVICE
UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF MICHIGAN SOUTHERN DIVISION

Case No, 2:18-cv-13235

The undersigned certifies that a copy of DEFENDANTS JEFF GLOVER'S, JEFF GLOVER & ASSOCIATES, INC'S
AND COLBY LOOMIS’ PRELIMINARY WITNESS LIST was served upon all parties of record as to the above cause,

to their respective addresses as disclosed on the pleadings of record herein, by:

Facsimile

Q) Certified Mail (postage prepaid)
QJ] Hand Delivery

vv p

 

 

 

 
